
47 Cal.2d 303 (1956)
Estate of EDWARD J. FRANKLIN, Deceased. ROBERT O. PFLEGER, Appellant,
v.
BANK OF AMERICA NATIONAL TRUST AND SAVINGS ASSOCIATION, Respondent.
L. A. No. 24148. 
Supreme Court of California. In Bank.  
Nov. 20, 1956.
 Robert O. Pfleger, in pro. per., for Appellant.
 No appearance for Respondent.
 THE COURT.
 The question here involved is whether the compensation allowed to executors, administrators and their attorneys should be governed by (1) the law in effect at the time of the settlement of the account and making the order allowing compensation, or (2) the law effective at the date of death of decedent.
 [1] We are of the opinion that the proper rule is that the rate of compensation should be determined by the law in effect at the date of the order allowing compensation. (See Estate of Johnston, ante, p. 265 [303 P.2d 1].)
 Since the probate court in the instant case did not apply this rule, the order appealed from is reversed.
